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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                  Case No.: 1:19-CR-00018-ABJ


UNITED STATES OF AMERICA,

               Plaintiff,

v.

ROGER J. STONE, JR.,

            Defendant.
______________________________/
                                              ORDER

        Upon consideration of defendant Roger J. Stone, Jr.’s Unopposed Motion for

Permission to Travel [Dkt. # 263], the motion is GRANTED.

       It is ORDERED that the defendant may travel to Orange Park, Florida, from November

27, 2019 until December 1, 2019. Defendant shall provide Pretrial Services with a copy of this

Order and his specific travel itinerary for the trip prior to his departure from the Southern District

of Florida. Defendant may not travel to any location aside from that set out above and must

contact Pretrial Services within the first business day by telephone upon his return.

       SO ORDERED.




                                                             AMY BERMAN JACKSON
                                                             United States District Judge
Date: November 21, 2019
